                             1   Robert A. Julian (SBN 88469)
                                 Cecily A. Dumas (SBN 111449)
                             2   BAKER & HOSTETLER LLP
                                 1160 Battery Street, Suite 100
                             3   San Francisco, CA 94111
                                 Telephone: 628.208.6434
                             4   Facsimile:     310.820.8859
                                 Email: rjulian@bakerlaw.com
                             5   Email: cdumas@bakerlaw.com

                             6   Eric E. Sagerman (SBN 155496)
                                 Lauren T. Attard (SBN 320898)
                             7   BAKER & HOSTETLER LLP
                                 11601 Wilshire Blvd., Suite 1400
                             8   Los Angeles, CA 90025-0509
                                 Telephone: 310.442.8875
                             9   Facsimile: 310.820.8859
                                 Email: esagerman@bakerlaw.com
                            10   Email: lattard@bakerlaw.com

                            11   Counsel for the Official Committee of Tort Claimants
B AKER & H OSTE TLER LLP




                                                           UNITED STATES BANKRUPTCY COURT
  S AN F RANCI SC O , CA
   A TTORNEYS AT L AW




                            12

                            13                             NORTHERN DISTRICT OF CALIFORNIA

                            14                                    SAN FRANCISCO DIVISION

                            15   In re:                                              Bankruptcy Case
                                                                                     No. 19-30088 (DM)
                            16   PG&E CORPORATION,
                                                                                     Chapter 11
                            17            - and -                                    (Lead Case)
                                                                                     (Jointly Administered)
                            18   PACIFIC GAS AND ELECTRIC
                                 COMPANY,
                            19                       Debtors.                        CERTIFICATE OF NO OBJECTION
                                                                                     REGARDING THIRD MONTHLY
                            20                                                       FEE STATEMENT OF BAKER &
                                                                                     HOSTETLER LLP FOR
                                 □ Affects PG&E Corporation                          ALLOWANCE AND PAYMENT OF
                            21
                                                                                     COMPENSATION AND
                                 □ Affects Pacific Gas and Electric Company          REIMBURSEMENT OF EXPENSES
                            22
                                                                                     FOR THE PERIOD APRIL 1, 2019
                                 ■ Affects both Debtors                              THROUGH APRIL 30, 2019
                            23
                                 * All papers shall be filed in the Lead Case,       [Re: Docket No. 2295]
                            24   No. 19-30088 (DM).
                            25                                                       OBJECTION DATE: June 21, 2019

                            26

                            27

                            28


                           Case: 19-30088      Doc# 2720     Filed: 06/24/19     Entered: 06/24/19 08:01:15   Page 1 of
                                                                         4
                             1   THE MONTHLY FEE STATEMENT

                             2           On May 31, 2019, Baker & Hostetler LLP (“Baker” or the “Applicant”), attorney for the

                             3   Official Committee of Tort Claimants (“Tort Committee”), filed its Third Monthly Fee Statement
                             4   of Baker & Hostetler LLP for Allowance and Payment of Compensation and Reimbursement of
                             5
                                 Expenses for the Period of April 1, 2019 through April 30, 2019 [Docket No. 2295] (the “Third
                             6
                                 Monthly Fee Statement”), pursuant to the Order Pursuant to 11 U.S.C.. §§ 331 and 105(a) and
                             7
                                 Fed. R. Bank. P. 2016 for Authority to Establish Procedures for Interim Compensation and
                             8

                             9   Reimbursement of Expenses of Professionals, entered on February 28, 2019 [Docket No. 701] (the

                            10   “Interim Compensation Procedures Order”).

                            11           The Third Monthly Fee Statement was served as described in the Certificate of Service of
B AKER & H OSTE TLER LLP

  S AN F RANCI SC O , CA
   A TTORNEYS AT L AW




                            12   Tanya Kinne, filed on June 4, 2019, [Docket. No. 2376]. The deadline to file responses or
                            13
                                 oppositions to the Third Monthly Fee Statement was June 21, 2019, and no oppositions or
                            14
                                 responses have been filed with the Court or received by the Applicant. Pursuant to the Interim
                            15
                                 Compensation Procedures Order, the above captioned debtors and debtors-in-possession are
                            16

                            17   authorized to pay the Applicant eighty percent (80%) of the fees and one hundred percent (100%)

                            18   of the expenses requested in the Third Monthly Fee Statement upon the filing of this certification

                            19   and without the need for a further order of the Court. A summary of the fees and expenses sought
                            20
                                 by the Applicant is attached hereto as Exhibit A.
                            21
                                 DECLARATION OF NO RESPONSE RECEIVED
                            22
                                         The undersigned hereby declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury,
                            23
                                 that:
                            24

                            25           1.     I am a partner of the firm of Baker & Hostetler LLP and Counsel for the Official

                            26   Committee of Tort Claimants.
                            27

                            28


                           Case: 19-30088     Doc# 2720     Filed: 06/24/19     Entered: 06/24/19 08:01:15       Page 2 of
                                                                        4
                             1          2.     I certify that I have reviewed the Court’s docket in this and case and have not

                             2   received any response or opposition to the Third Monthly Fee Statement.
                             3          3.     This declaration was executed in San Francisco, California.
                             4
                                 Dated: June 24, 2019                        Respectfully submitted,
                             5
                                                                             BAKER & HOSTETLER LLP
                             6

                             7

                             8                                               By: _/s/ Cecily A. Dumas
                                                                                     Cecily A. Dumas
                             9
                                                                             Counsel for the Official
                            10                                               Committee of Tort Claimants
                            11
B AKER & H OSTE TLER LLP

  S AN F RANCI SC O , CA
   A TTORNEYS AT L AW




                            12

                            13

                            14

                            15

                            16

                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28


                           Case: 19-30088    Doc# 2720     Filed: 06/24/19    Entered: 06/24/19 08:01:15     Page 3 of
                                                                       4
                             1

                             2                                                      EXHIBIT A
                             3                                          Professional Fees and Expenses
                                                                        Third Monthly Fee Application
                             4

                             5
                                  Applicant           Fee        Total Fees       Total      Objection       Fees         Expenses    Amount of
                                                 Application     Requested      Expenses     Deadline    Authorized to   Authorized   Holdback
                             6                     Period,                      Requested                 be Paid at     to be Paid     Fees
                                                 Filing Date,                                                80%          at 100%
                             7                   Docket No.
                                  Baker &       Third           $1,925,513.75   $62,921.10   6/21/19     $1,540,411.00   $62,921.10   $385,102.75
                             8    Hostetler     Monthly
                                  LLP
                             9                  4/1/19 to
                                  Counsel for   4/30/19
                                  Official
                            10    Committee     [Docket No.
                                  of Tort       2295 filed
                            11    Claimants     5/31/19
B AKER & H OSTE TLER LLP

  S AN F RANCI SC O , CA
   A TTORNEYS AT L AW




                            12

                            13

                            14

                            15

                            16

                            17

                            18

                            19

                            20

                            21

                            22

                            23

                            24

                            25

                            26

                            27

                            28


                           Case: 19-30088       Doc# 2720         Filed: 06/24/19        Entered: 06/24/19 08:01:15           Page 4 of
                                                                              4
